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                    UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

OVERNIGHT BLOWOUT LLC; and
YESENIA HIPOLITO,                    Case No. 1:24-cv-07926-PKC

           Plaintiff,

     v.

XUCHANG YUNDUAN HAIR
PRODUCTS CO., LTD. d/b/a YUNDUAN
HAIR; SHENZHEN XINLIYUAN
ELECTRONIC MATERIAL CO. LTD.
d/b/a FLYLIPU; BEISKLL; KE
QIAOZHEN d/b/a YOSHUYUKI;
XIAMEN BOPUTE INTERNATIONAL
TRADE CO., LTD. d/b/a NOAFOCKS
US; SHENZHEN PENGZEYANG
ELECTRONIC COMMERCE CO., LTD.
d/b/a PENGZEYANG; SHENZHEN
RONGZHANGJIA E-COMMERCE CO.,
LTD. d/b/a RONGZHANGJIA; LIANG
YUE d/b/a TIGEROSE; SHENZHEN
RUIYUE NETWORK TECHNOLOGY
CO., LTD. d/b/a RUIYUE-US;
SHENZHEN QINGYI TECHNOLOGY
CO., LTD. d/b/a MUKOROLEE;
SHANTOU TIANZHI TECHNOLOGY
CO., LTD. d/b/a MCBKI SHOP;
SICHUAN DONGHUIWAN TRADING
CO., LTD. d/b/a LYKLASSE;
SHENZHEN SIYIBAIQIAN E-
COMMERCE BUSINESS, LTD. d/b/a
ZOIRUYA a/k/a SIYIBAIQIAN;
SHENZHEN MAIQUI ELECTRONIC
COMMERCE CO., LTD. d/b/a AAIFFEY;
JIUJIANG WANZHI TONGJIA
TRADING CO., LTD. d/b/a DUNJOT;
DONGGUAN TAIYU TECHNOLOGY
CO., LTD. d/b/a EHBELIF-US;
YONGKANG IRIS ENVIRONMENT
PROTECTION EQUIPMENT CO., LTD.
d/b/a IRIS SELECTED; SHENZHEN
FANGHUI TRADING CO., LTD. d/b/a
BRICOS; YUZHOU RUIMEISHANG
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 FAZHIPIN LTD. d/b/a RUIMEISHANG;
 HUAMEIBAIHODIAN; TOW WANG
 WANG; GUANGZHOU MUFAN
 ELECTRONIC COMMERCE CO., LTD.
 d/b/a FSAWDNN; HAOZHOU
 ZHENWEI TECHNOLOGY CO., LTD.
 d/b/a DAFENG-US; SHENZHEN
 SHENGJINKUN TECHNOLOGY CO.,
 LTD. d/b/a LIOOGIOO; XUCHANG
 MEIDUO IMPORT AND EXPORT
 TRADE CO., LTD. d/b/a XRACEPHOL;
 KENANFADA; DATIANSOFU;
 HOTTOPS; CHICTIEHSM70; YIWU
 QINGHAO TRADING CO. d/b/a
 QINZHE; and YIWU QIYUE JEWELRY
 CO. d/b/a UNTIL YOU HAIR,

                 Defendants.


                   PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) and a settlement reached

between the parties herein, Plaintiffs Overnight Blowout LLC and Yesenia Hipolito hereby give

notice that their claims in the above-captioned action against Ke Qiaozhen d/b/a YOSHUYUKI

are voluntarily dismissed from this action.




Dated:        December 16, 2024                   Respectfully submitted,




                                                  Leo M. Lichtman
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                                Attorney for Plaintiffs Overnight Blowout
                                LLC and Yesenia Hipolito
